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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 RUFUS GENE LANGO,                             Case Number: 06-CV-12228
                                               HON. MARIANNE O. BATTANI
       Petitioner,

 v.

 BLAINE LAFLER,

       Respondent.

 ___________________________/

                      OPINION AND ORDER DENYING
                THE PETITION FOR WRIT OF HABEAS CORPUS

       Rufus Gene Lango, (“Petitioner”) currently incarcerated at the Newberry

 Correctional Facility in Newberry, Michigan, has filed a pro se petition for writ of

 habeas corpus pursuant to 28 U.S.C. § 2254, challenging his convictions of first-

 degree felony murder, M.C.L. 750.316(1)(b), assault with intent to murder,

 M.C.L. 750.83, and possession of a firearm during the commission of a felony

 (felony-firearm), M.C.L. 750.227(b). For the reasons stated below, the petition

 for writ of habeas corpus is DENIED.

                                   I. Background

       Petitioner was convicted of the above offenses following a jury trial in the

 Wayne County Circuit Court. Petitioner’s conviction arose out of a robbery and

 shooting that occurred outside a nightclub in the city of Detroit. The shooting


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 resulted in the death of Martin Ngaima and the wounding of Alex Barmon.

 Petitioner and his co-defendant were convicted on the basis of identifications

 made by Edwin Bannah and Jessie Stanley. Stanley, tried separately, provided

 testimony of the group’s modus operandi of targeting people in parking lots and

 then moving in to take whatever was immediately available. Petitioner Lango’s

 multiple statements describe a series of robberies, referred to as “missions,” in

 which he and others would drive up alongside people near restaurants, bars, or

 hotels, exit the vehicles, point guns and then rob the victims of their

 possessions. Petitioner Lango’s statements also describe the dark clothing worn

 and the weapons used by him and his accomplices, which match the dark

 clothing and the AK-47 and shotgun seen and testified to by the witnesses

 outside of Bobby G’s during the commission of the offenses.

            Petitioner’s conviction was affirmed on appeal. People v. Lango, No.

 257150 (Mich.Ct.App. November 22, 2005); lv. den. 474 Mich. 1095; 711 N.W.

 2d 356( 2006). 1 Petitioner now seeks the issuance of a writ of habeas corpus

 on the following grounds:

            I. Defendant-appellant’s convictions should be reversed because the trial
            court erred in finding the statements voluntary and erred in their admission
            at trial.


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           On May 10, 2006, Petitioner filed his petition for writ of habeas corpus. On August 2, 2006,
Petitioner filed a Motion to Hold Habeas Petition in Abeyance. In his motion, petitioner sought leave to
return to the state courts to exhaust additional claims. Petitioner subsequently filed a “Motion To
Voluntarily Dismiss” stating he chose to proceed with the original claims. Construing his request as a
“Motion to Reopen Habeas Corpus Proceedings,” petitioner’s habeas application was subsequently
reopened.

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       II. Defendant-appellant is entitled to a new trial where the trial court
       granted an adjournment for more than one week.

       III. Defendant-appellant’s convictions should be reversed because the jury
       was not properly instructed on how to consider the testimony of another
       defendant.

                              II. Standard of Review
       28 U.S.C. § 2254(d) imposes the following standard of review for habeas
       cases:
       An application for a writ of habeas corpus on behalf of a person in
       custody pursuant to the judgment of a State court shall not be
       granted with respect to any claim that was adjudicated on the merits
       in State court proceedings unless the adjudication of the claim–

                       (1)    resulted in a decision that was contrary to, or
                       involved an unreasonable application of, clearly
                       established Federal law, as determined by the
                       Supreme Court of the United States; or
                       (2)    resulted in a decision that was based on an
                       unreasonable determination of the facts in light of the
                       evidence presented in the State court proceeding.

        A decision of a state court is "contrary to" clearly established federal law if

  the state court arrives at a conclusion opposite to that reached by the Supreme

  Court on a question of law or if the state court decides a case differently than

  the Supreme Court has on a set of materially indistinguishable facts. Williams v.

  Taylor, 529 U.S. 362, 405-06 (2000). An "unreasonable application" occurs

  when “a state court decision unreasonably applies the law of [the Supreme

  Court] to the facts of a prisoner’s case.” Id. at 409. A federal habeas court may

  not “issue the writ simply because that court concludes in its independent

  judgment that the relevant state-court decision applied clearly established



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  federal law erroneously or incorrectly." Id. at 410-11.

                                            III. Discussion

           A. Claim # 1. The use of confession at trial.

           Petitioner first claims that his statements to the police were involuntary

  and that he did not knowingly or intelligently waiving his constitutional rights

  prior to making his statements to the police.

           A Walker 2 hearing was conducted before the state trial court on March

  26, 2004 to challenge petitioner’s waiver of his Miranda rights and the

  voluntariness of his statements.

           Officer Lance Newman testified that at 9:10 a.m. on December 22, 2003,

  petitioner was read his Miranda rights, after which petitioner repeated each

  right, then initialed and signed each sheet (Tr. March 26, 2004, pp. 9-10).

  Petitioner never requested to speak with a lawyer. Petitioner indicated that he

  had completed the 12th grade and could read and write. Petitioner requested to

  speak with his mother to ensure that the house was secured (Id. at 11-19).

           Petitioner was again questioned the next morning by Officer Manuel

  Gutierrez from the Detroit Police Violent Crime Task Force involving a series of

  robberies (Id. at pp. 21-23). Gutierrez testified that petitioner was provided with

  food from Burger King at the time of his arrest. (Id. at p. 26). Prior to the second

  interview on December 23, 2003 at 12:10, petitioner was again advised of his

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           People v. Walker, 374 Mich. 331; 132 N. W. 2d 87 (1965).

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  Miranda rights and again initialed each of the five paragraphs on the Detroit

  Police Constitutional Rights Certificate of Notification form (Id. at pp. 29-30).

  Officer Gutierrez proceeded to take three statements (the first at 12:45 pm; the

  second at 2:20 p.m. and the third at 4:45 p.m.). During the course of these

  interviews, petitioner was allowed to use the restroom, eat a candy bar, and get

  a drink of water. Petitioner never asked to speak with an attorney. (Id. at p. 43-

  44). Petitioner was also given the opportunity to read and make corrections to

  his statements, initialed all changes on his statements and then signed the

  bottom of each page. During this time, petitioner never indicated that he wished

  to speak with an attorney. (Id. at pp. 45-48).

         Petitioner alleges that throughout the questioning, the officers utilized

  intimidation tactics and ignored his request to speak to a lawyer. Petitioner

  claimed that the two officers played “good cop bad cop”, with one of the officers

  pushing his head. (Id. at pp. 56-57, 62-63). Petitioner admitted that he had prior

  contacts with the law during which he had previously been advised of his

  constitutional rights. (Id. at p. 65).

         Upon reviewing the testimony, the trial judge noted that the issue of the

  voluntariness of petitioner’s confession was a “question of credibility.” The

  judge indicated that the factors that had to be taken into account in making a

  determination as to the voluntariness of a confession are the age of the

  accused, his lack of education or intelligence level, the extent of his prior

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  contacts with the police, any repeated or prolonged questioning, the lack of the

  advice of rights, and any undue delay in bringing the defendant before a

  magistrate, whether the defendant was injured, intoxicated, or drugged, whether

  he was deprived of food, sleep, or medical attention, or whether he was

  physically abused. (Id. At pp. 88-89). The judge indicated that he found that the

  officers’ testimony was consistent while the testimony provided by petitioner

  appeared inconsistent. (Id. at p.89). Although the judge noted that petitioner

  had testified that the police had threatened him, in that “it was a good cop bad

  cop” situation, the judge rejected the idea that petitioner’s will had been

  overborne. In so ruling, the judge found petitioner “to be articulate, intelligent,

  and able to, and a person with a strong will..”(Id. at pp. 89-90).

        The Michigan Court of Appeals rejected petitioner’s claim on direct

  appeal, holding:

        The trial court held a Walker hearing, at which Officer Newman
        testified that, although Lango asked to speak with his mother, he
        never asked for a lawyer. Officer Gutierrez testified that Lango was
        fed prior to, and during, questioning and was allowed to use the
        restroom. He also testified that Lango had a calm demeanor during
        all of the questioning. Lango was able to read his constitutional rights
        forms without difficulty, and he initialed each right listed on the form
        and signed each form at the bottom-one form for each statement he
        made. Further, Lango was given the opportunity to read and make
        corrections to his statements. Lango initialed all changes on his
        statements, and he signed the bottom of each page of his statements.
        Considering that Lango completed the twelfth grade and that he had
        prior experience with law enforcement, the trial court determined that
        Lango’s will was not overborne and that his confession was not
        involuntary. Given that the trial court’s determination relies in large

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        part on the credibility of the witnesses, the trial court did not clearly err
        in determining that Lango’s statement was not involuntary.

        Lango, Slip. Op. at * 2 (footnote omitted).

        In considering federal habeas petitions, a federal district court must

  presume the correctness of state court factual determinations, and a habeas

  petitioner may rebut this presumption only with clear and convincing evidence.

  Bailey v. Mitchell, 271 F. 3d 652, 656 (6th Cir. 2001); 28 U.S.C. § 2254(e)(1).

  Subsidiary factual questions in determining the voluntariness of a statement to

  police, such as whether the police engaged in intimidation tactics alleged by a

  habeas petitioner, are entitled to the presumption of correctness accorded to

  state court findings of fact. Miller v. Fenton, 474 U.S. 104, 112 (1985).

  Likewise, whether a defendant understood his or her Miranda rights is a

  question of fact underlying the question of whether his waiver of those rights

  was knowing and intelligent. Thus, on federal habeas review, a federal court

  has to presume that the state court’s factual finding that a defendant fully

  understood what was being said and asked of him was correct unless the

  petitioner shows otherwise by clear and convincing evidence. Williams v. Jones,

  117 Fed. Appx. 406, 412 (6th Cir. 2004); See also Terry v. Bock, 208 F. Supp.

  2d 780, 789 (E.D. Mich. 2002).

        A defendant’s waiver of his Miranda rights is considered valid if it is

  voluntary, knowing, and intelligent. Miranda v. Arizona, 384 U.S. 436, 444, 475



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  (1966). Coercive police activity is a necessary predicate to finding that a

  defendant’s waiver of his Miranda rights was involuntary. Colorado v. Connelly,

  479 U.S. 157, 167, 169-70 (1986). A defendant’s deficient mental condition, by

  itself, is insufficient to render a waiver involuntary. Id. at 164-65. “[W]hile mental

  condition is surely relevant to an individual’s susceptibility to police coercion,

  mere examination of the confessant's state of mind can never conclude the due

  process inquiry." Connelly, 479 U.S. at 165.

        Likewise, in determining whether a confession is voluntary, the ultimate

  question for a court is “whether, under the totality of the circumstances, the

  challenged confession was obtained in a manner compatible with the

  requirements of the Constitution.” Miller v. Fenton, 474 U.S. at 112. These

  circumstances include:

   1. police coercion (a "crucial element");
   2. the length of interrogation;
   3. the location of interrogation;
   4. the continuity of the interrogation;
   5. the suspect’s maturity;
   6. the suspect's education;
   7. the suspect's physical condition and mental health;
   8. and whether the suspect was advised of his or her Miranda Rights.

    Withrow v. Williams, 507 U.S. 680, 693-94 (1993).

        All of the factors involved in the giving of the statement should be closely

  scrutinized. Culombe v. Connecticut, 367 U.S. 568, 602 (1961). However,

  without coercive police activity, a confession should not be deemed involuntary.



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  Colorado v. Connelly, 479 U.S. at 167.

        Petitioner’s primary contention is that he did not knowingly or intelligently

  waive his Fifth Amendment rights or voluntarily speak with the police because

  he evoked his right to speak with an attorney.

        Once an accused has expressed his desire to deal with the police only

  through counsel, he is not to be subjected to further interrogation until counsel

  has been made available to him or her, unless the accused initiates further

  communication with the police. Edwards v. Arizona, 451 U.S. 477, 484-85

  (1981). In this case, Officers Newman and Gutierrez testified at the Walker

  hearing that petitioner never requested to speak with an attorney prior to

  making his inculpatory statements and the trial court found this version of

  events to be more credible. A state court’s finding that a habeas petitioner did

  not make an unequivocal request for counsel and that the statement was

  voluntarily made is entitled to the presumption of correctness, where the

  petitioner fails to present clear and convincing evidence to rebut that

  presumption. See Pritchett v. Pitcher, 117 F. 3d 959, 963 (6th Cir. 1997). The

  presumption of correctness also “applies to implicit findings of fact, logically

  deduced because of the trial court's ability to adjudge the witnesses' demeanor

  and credibility.” Carey v. Myers, 74 Fed. Appx. 445, 448 (6th Cir. 2003)(citing

  McQueen v. Scroggy, 99 F. 3d 1302, 1310 (6th Cir. 1996)). Although the trial

  court did not specifically find that petitioner never requested counsel, the trial

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  court did mention in its findings that the credibility of the officer testimony

  appeared consistent while that of the petitioner was inconsistent. By ruling that

  petitioner’s confession was voluntary, the trial court implicitly found that

  petitioner did not ask for counsel nor was he coerced when he provided the

  officers with three signed statements. Therefore, petitioner is not entitled to

  challenge the state trial court’s determination that the police officers’ testimony

  that petitioner had not requested to speak with an attorney prior to making

  inculpatory statement was more credible than petitioner's allegation to the

  contrary, absent clear and convincing evidence to rebut presumption that state

  court's factual findings were correct. See Walendzinski v. Renico, 354 F. Supp.

  2d 752, 759-60 (E.D. Mich. 2005).

      Petitioner has not otherwise shown that he did not voluntarily or intelligently

  waive his Fifth Amendment right against self-incrimination. The state court

  determination that petitioner’s confession was voluntary was not contrary to, or

  an unreasonable application of, clearly established federal law, and thus does

  not warrant federal habeas relief, despite petitioner's claim of coercive police

  activity, where petitioner indicated that he had completed 12th grade, could read

  and write, had prior contacts with the police, and was thus familiar with criminal

  procedures, was not deprived of necessary nourishment, medical care, sleep or

  other essentials while in custody, and was advised of his Miranda rights by

  police prior to being questioned and waived those rights. See Payne v. Smith,

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  207 F. Supp. 2d 627, 646 (E.D. Mich. 2002).

        Finally, even if the trial court erred in admitting petitioner’s statement into

  evidence, this would still not entitle him to relief. For purposes of determining

  whether federal habeas relief must be granted to a state prisoner on the ground

  of federal constitutional error, the appropriate harmless error standard to apply

  is whether the error had a substantial and injurious effect or influence in

  determining the jury’s verdict. Brecht v. Abrahamson, 507 U.S. 619, 637 (1993).

  In this case, petitioner’s statements to the police, even if involuntary, were

  harmless in view of the fact that Edwin Bannah and Jessie Stanley both

  positively identified petitioner as being involved in the robbery and shooting.

  See Walendzinski, 354 F. Supp. 2d at 761.

        Petitioner further contends that the trial court improperly admitted “prior

  bad acts” or “other acts” evidence when the prosecutor introduced into evidence

  Petitioner’s statements pertaining to a series of robberies.

        Petitioner’s claim that the state court violated M.R.E. 404(b) by admitting

  this evidence is non-cognizable on habeas review. See Bey v. Bagley, 500 F 3d

  514, 519 (6th Cir. 2007). The admission of this “prior bad acts” or “other acts”

  evidence against petitioner at his state trial does not entitle him to habeas relief,

  because there is no clearly established Supreme Court law which holds that a

  state violates a habeas petitioner’s due process rights by admitting propensity

  evidence in the form of “prior bad acts” evidence. Bugh v. Mitchell, 329 F. 3d

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  496, 512 (6th Cir. 2003); Adams v. Smith, 280 F. Supp. 2d 704, 716 (E.D. Mich.

  2003). Petitioner is therefore not entitled to habeas relief on his first claim.

        B. Claim #2. Improper grant of a continuance.

        Petitioner next contends that the trial court abused its discretion when it

  allowed the prosecution an eleven-day continuance in the middle of trial due to

  co-defendant Stanley’s hospitalization.

        Respondent contends that petitioner’s second and third claims are

  unexhausted, because they were never presented to the state courts as federal

  constitutional claims.

        As a general rule, a state prisoner seeking federal habeas relief must first

  exhaust his available state court remedies before raising a claim in federal

  court. 28 U.S.C. § 2254(b) and (c). Picard v. Connor, 404 U. S. 270, 275-78

  (1971). The exhaustion requirement requires that a federal habeas petitioner

  fairly present the substance of each federal constitutional claim to state courts

  using citations to the United States Constitution, federal decisions using

  constitutional analysis, or state decisions employing constitutional analysis in

  similar fact patterns. Levine v. Torvik, 986 F. 2d 1506, 1516 (6th Cir. 1993). In

  order to exhaust state court remedies, a habeas petitioner must present his or

  her claim to the state courts as a federal constitutional issue, not merely as an

  issue that arises under state law. Koontz v. Glossa, 731 F. 2d 365, 368 (6th Cir.

  1984)(cites omitted).

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        As a general rule, a federal district court should dismiss a habeas petition

  that contains unexhausted claims. See Foster v. Withrow, 159 F. Supp. 2d 629,

  638 (E.D. Mich. 2001). However, assuming that petitioner’s second and third

  claims have not been properly exhausted with the state courts, an unexhausted

  claim may nonetheless be rejected if it lacks merit. See Burton v. Bock, 239 F.

  Supp. 2d 686, 691 (E.D. Mich. 2002)(citing to 28 U.S.C. § 2254(b)(2); Cain v.

  Redman, 947 F. 2d 817, 820 (6th Cir.1991)). This Court finds that in the

  interest of judicial economy, and to avoid any further burden on the state courts

  if the petitioner were to return there to attempt to exhaust these claims in a post-

  conviction motion, this Court will address petitioner’s second and third claims on

  the merits.

        Co-defendant Stanley was hospitalized during petitioner’s jury trial. On

  June 17, 2004, the trial court court considered arguments presented by the

  prosecution and counsel for petitioner before dismissing the jury. The trial court

  found that “Mr. Stanley is in the hospital with an illness and we don’t know when

  he will be able to proceed.” (Tr. June 17, 2004, p. 3).

        On appeal, the Michigan Court of Appeals rejected petitioner’s claim,

  finding that petitioner was not prejudiced by the trial court’s eleven day

  adjournment due to Stanley’s illness. Lango, Slip. Op. at * 6.

        A trial court has broad discretion in determining whether to grant or deny

  a motion for a continuance or adjournment in a criminal case. See Unger v.

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  Sarafite, 373 U.S. 575, 589 (1964); See also Morris v. Slappy, 461 U.S. 1, 11

  (1983). When a habeas petitioner challenges the grant or denial of such a

  request, not only must there have been an abuse of discretion, the trial court's

  decision “must have been so arbitrary and fundamentally unfair that it violates

  constitutional principles of due process.” Bennett v. Scroggy, 793 F.2d 772,

  774-75 (6th Cir. 1986).

         This Court finds that the Michigan Court of Appeals' decision is neither

  contrary to United States Supreme Court precedent nor an unreasonable

  application of federal law or the facts. The trial court’s action in granting the

  continuance was reasonable given the fact that a prosecution witness’ illness

  prevented him from testifying at trial. See e.g. United States v. Howard, 218 F.

  3d 556 (6th Cir. 2000)(district court’s three and a half month adjournment of trial

  due to the victim’s hospitalization for going into premature labor did not violate

  the Speedy Trial Act); See also Cooper v. Costello, 112 F. 3d 503 (Table); No.

  1997 WL 219083, *1 (2nd Cir.1997)(six-week delay caused by defense counsel's

  illness did not violate petitioner’s right to a fair trial); United States v. Smith, 44

  F.3d 1259, 1267-68 (4th Cir. 1995)(32-day mid-trial continuance for district

  judge's vacation and co-defendant’s illness not grounds for reversal).

         In addition, petitioner has provided no factual support for his assertion

  that he was prejudiced by the continuance or the mid-trial delay. Petitioner’s

  concern centered on the jury focusing on testimony subsequent to the

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  adjournment and that the prior testimony would be substantially minimized.

  Witnesses for the prosecution testified prior to the continuance. Petitioner was

  not prejudiced by the continuance. Conclusory allegations, without evidentiary

  support, do not provide a basis for habeas relief. See, e.g., Workman v. Bell,

  160 F.3d 276, 287 (6th Cir. 1998)(conclusory allegations of ineffective

  assistance of counsel do not warrant habeas relief); Wogaman v. Wells, 884

  F.2d 1393 (Table); No. 1989 WL 106578, *5 (6th Cir. 1989)(denying habeas

  relief where petitioner failed to show that pre-trial or mid-trial delays were

  prejudicial-“a critical and essential consideration”). Petitioner is not entitled to

  habeas relief on his second claim.

        C. Claim # 3. The jury instruction claim.

        Petitioner lastly claims that the trial court erred in failing to give the jurors

  a cautionary instruction that they should examine co-defendant Stanley’s

  testimony more carefully because he was an accomplice to the crime.

        The burden of demonstrating that an erroneous instruction was so

  prejudicial that it will support a collateral attack upon the constitutional validity of

  a state court conviction is even greater than the showing required in a direct

  appeal. The question in such a collateral proceeding is whether the ailing

  instruction so infected the entire trial that the resulting conviction violates due

  process, not merely whether the instruction is undesirable, erroneous, or even

  “universally condemned,” and an omission or incomplete instruction is less likely

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  to be prejudicial than a misstatement of the law. Henderson v. Kibbee, 431 U.S.

  145, 154-55 (1977). A habeas petitioner’s burden of showing prejudice is

  especially heavy when a petitioner claims that a jury instruction was incomplete,

  because an omission, or an incomplete instruction, is less likely to be prejudicial

  than a misstatement of the law. See Terry v. Bock, 208 F. Supp. 2d at 793.

        The Sixth Circuit has held, even on direct appeals from federal criminal

  trials, that a trial court’s failure to give a special cautionary instruction on

  accomplice testimony is not reversible error, so long as the court has given the

  jury a general instruction on witness credibility and the various considerations

  that it should take into account in weighing the testimony of various witnesses.

  See United States v. Carr, 5 F. 3d 986, 992 (6th Cir. 1993); see also United

  States v. Bucheit, 134 Fed. Appx. 842, 859 (6th Cir. 2005)(failure to give

  accomplice instruction not reversible error); United States v. Allgood, 45 Fed.

  Appx. 407, 412 (6th Cir. 2002)(“While it is the preferred practice to give a

  cautionary instruction regarding the possible unreliability of accomplice

  testimony, we have not held that such an instruction is required for a jury to be

  ‘properly cautioned.’”); Scott v. Mitchell, 209 F. 3d 854, 883 (6th Cir. 2000)(“We

  have since followed Carr in not requiring accomplice instructions as a general

  matter”).

        Federal habeas review of jury instruction claims arising out of a state

  court prosecution is even more deferential than direct review by a federal

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  appellate court of a federal criminal conviction. In this case, the state trial

  court’s refusal to specifically instruct the jury regarding the credibility of

  accomplice witnesses did not violate petitioner’s right to due process, in light of

  the fact that the general instructions on witness credibility alerted the jury to the

  various considerations that it should take into account in weighing testimony,

  giving the jury an ample basis for rejecting the testimony of the accomplice

  witness if it had chosen to do so. See Latimer v. Burt, 98 Fed. Appx. 427, 432-

  33 (6th Cir. 2004). Moreover, in light of the evidence presented at trial, the jury

  had sufficient evidence to assess Stanley’s credibility and his possible

  motivations for lying. Therefore, the trial court’s failure to instruct the jury more

  specifically on the testimony of accomplices did not deprive petitioner of a fair

  trial or due process of law. See Grant v. Rivers, 920 F. Supp. 769, 784 (E.D.

  Mich. 1996). Petitioner is not entitled to habeas relief on his third claim.

                                       IV. ORDER

        Based upon the foregoing, IT IS ORDERED that the petition for a writ of

        habeas corpus is DENIED WITH PREJUDICE.

                                           s/Marianne O. Battani
                                           HON. MARIANNE O. BATTANI
                                           UNITED STATES DISTRICT COURT
  DATED: February 3, 2009




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                              CERTIFICATE OF SERVICE

        I hereby certify that on the above date a copy of this opinion and order was
  served upon all parties of record.

                                          s/Bernadette M. Thebolt
                                          Deputy Clerk




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